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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT, ILLINOIS

 PHYSICIANS HEALTHSOURCE, INC., an                 )
 Ohio corporation, individually and as the         )
 representative of a class of similarly-situated   )
 persons,                                          )
                                 Plaintiff,        )   Case No. 1:16-cv-07474
                v.                                 )
                                                   )   Judge Matthew F. Kennelly
 WELLNESS MEDICAL PROTECTION                       )
 GROUP, PLLC, a Michigan professional              )
 limited liability company, R.X.N.B., INC.,        )
 a Nevada corporation, RXNBI LLC, a                )
 Nevada limited liability company, and             )
 JOHN DOES 1-5,                                    )
                              Defendants.          )

                            NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff, PHYSICIANS

HEALTHSOURCE, INC., through its undersigned attorneys, hereby dismisses Defendants, JOHN

DOES 1-5, without prejudice.

                                              Respectfully submitted,

                                              PHYSICIANS HEALTHSOURCE, INC., individually
                                              And on behalf of a class of similarly-situated persons,

                                              By: s/ Brian J. Wanca
                                              Brian J. Wanca
                                              ANDERSON + WANCA
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                                              Attorneys for Plaintiff
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 28, 2016, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing to all
attorneys of record.



                                             s/ Brian J. Wanca




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